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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA


       v.                                                       ORDER
                                                              09-CR-331-A
DAVID DEYNES,

                       Defendant.


      The defendant, David Deynes, has moved pursuant to 18 U.S.C. §

3142(f)(2), based upon changed circumstances, for reconsideration of a March

15, 2012 Decision and Order of Magistrate Judge Hugh B. Scott that denied a

motion for release from pretrial detention. (Dkt. No. 470). The Court assumes

familiarity with the racketeering-related charges defendant Deynes faces, the

prior proceedings in this case, and the arguments of the parties.

      As a threshold matter, the United States argues that defendant Deynes’

emphasis on his interpretation of evidence and on witness statements he has

received during pretrial proceedings to argue that the evidence against him is not

as strong as previously proffered by the United States is not sufficient to justify re-

opening the detention hearing under § 3142(f)(2). However, the Court finds that

the availability of property valued at approximately $85,000 as newly-available

potential security for defendant Deynes’ pretrial release, and the passage of an

additional 20 months during which defendant has been detained pretrial, are

circumstances clearly sufficient under 18 U.S.C. § 3142(f) to justify re-opening
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the detention hearing.

      Based upon consideration of all of the factors in 18 U.S.C. § 3142(g) and

the evidence proffered by the United States and defendant Deynes, the Court

finds that there is a strong basis for concluding that defendant committed the very

serious offenses charged in Counts 1, 62, and 63 in the Fourth Superseding

Indictment. The circumstances and characteristics of those offenses, together

with the history and characteristics of defendant, strongly support the conclusion

that defendant has not met his burden to overcome the presumptions of

dangerousness and serious risk of flight that arise under 18 U.S.C. § 3142(e)(2),

and the proffered evidence supporting those presumptions. The Court also

specifically finds that no available condition or combination of conditions will

adequately protect the safety of the community from the defendant.

      Although it was not the primary focus of oral argument, the Court has very

carefully considered that defendant Deynes’ continuing 31-month pretrial

detention raises distinct and troubling questions under the Due Process Clause

about the propriety of his continuing detention without trial. See U.S. Const.

amend. V. When the duration of a defendant’s pretrial detention becomes so

prolonged that it amounts to punishment that does not serve purposes of flight

prevention or community protection, the pretrial detention violates due process.

Bell v. Wolfish, 441 U.S. 520, 535 (1979); United States v. Salerno, 481 U.S. 739,

747-49 (1987); United States v. Millan, 4 F.3d 1038, 1043 (2d Cir. 1993). Upon

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such violation, a defendant will be released on conditions, ordered to trial, or

both.

        There is generally a three-part test for determining when an otherwise

legitimate pretrial detention becomes too long to be tolerated under the Due

Process Clause: (1) the length of delay; (2) the extent to which the prosecution is

responsible for delay of the start of the trial; and (3) “the strength of the evidence

upon which the detention was based.” United States v. Orena, 986 F.2d 628,

630 (2d Cir. 1993). The question whether the pretrial detention of defendant

Deynes violates due process turns on whether the above-listed factors establish

that the duration of his detention is excessive in relation to the non-punitive

purposes served by the detention. Bell v. Wolfish, 441 U.S. 520, 538 (1979).

        After long and involved pretrial proceedings, defendant Deynes is

scheduled for jury selection and trial on February 6, 2014. Because the

defendant’s pretrial detention continues to be necessary to protect the community

from additional crimes and to prevent the defendant from fleeing to avoid

conviction, a sentence to a mandatory-minimum term of 10 years imprisonment,

up to a sentence of life imprisonment, and because his trial will begin February 6,

2013, it does not, at this time, violate due process.

                                   CONCLUSION

        For all of the foregoing reasons, the motion of defendant David Deynes for

reconsideration pursuant to 18 U.S.C. § 3142(f)(2) of his pretrial detention is

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denied. The defendant is a danger to the community and a risk of flight for which

no available conditions or combination of conditions of release will adequately

protect the community and assure his appearances in court as required.

Although the continuing 31-month pretrial detention of defendant is long, it does

not violate due process.


      SO ORDERED.

                                      s/ Richard J. Arcara
                                      HONORABLE RICHARD J. ARCARA
                                      UNITED STATES DISTRICT JUDGE

DATED: December 6, 2013




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